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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------- X
  UNITED STATES OF AMERICA,                                 :
                                                            :
                                      Plaintiff,            : MEMORANDUM DECISION AND
                                                            : ORDER
                        - against -                         :
                                                            : 24-cr-346 (BMC)
  LINDA SUN,                                                :
        also known as “Wen Sun,” “Ling Da                   :
        Sun,” and “Linda Hu,” and                           :
  CHRIS HU,                                                 :
                                                            :
                                      Defendants.           :
 ---------------------------------------------------------- X

 COGAN, District Judge.

        In August 2024, a grand jury returned a ten-count indictment against Linda Sun and her

 husband, Chris Hu. Sun was charged with acting as an agent of a foreign government without

 registering with the Attorney General in violation of the Foreign Agents Registration Act

 (“FARA”), 22 U.S.C. §§ 612(a) and 618(a)(1) and conspiracy to commit the same in violation of

 18 U.S.C. § 371; visa fraud in violation of 18 U.S.C. §§ 1546(a); and four counts of illegally

 bringing aliens into the United States for commercial gain or advantage, in violation of 8 U.S.C.

 §§ 1324(a)(1)(A)(iv) and 1324(a)(1)(B)(i). Hu was charged with conspiracy to commit bank

 fraud in violation of 18 U.S.C. § 1349 and misuse of means of identification in violation of 18

 U.S.C. § 1956(h). Both Sun and Hu were charged with conspiracy to commit money laundering

 in violation of 18 U.S.C. § 1956(h). A grand jury then returned a first superseding indictment,

 charging Hu with three counts of money laundering under in violation of 18 U.S.C. § 1957.

        Defendants have each filed a motion to suppress. Sun moves to suppress evidence

 obtained from, and direct and indirect products of, the Government’s 2024 search of Sun’s Gmail

 account that the Government purports to have carried out pursuant to a 2022 warrant (the “2022
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 Gmail Warrant”). Hu moves to suppress evidence seized pursuant to two warrants issued in

 2024, referred to as the Leivine Warrant and the Home Warrant.

        For the reasons that follow, Sun’s motion to suppress [77] is granted in part and denied in

 part; Hu’s motion to suppress [80] is denied.

                                       LEGAL STANDARD

        “The Founding generation crafted the Fourth Amendment as a response to the reviled

 general warrants and writs of assistance of the colonial era, which allowed British officers to

 rummage through homes in an unrestrained search for evidence of criminal activity.” Carpenter

 v. United States, 585 U.S. 296, 303 (2018) (internal quotation marks and quotation omitted).

 Pursuant to the Fourth Amendment, “[w]hen an individual seeks to preserve something as

 private, and his expectation of privacy is one that society is prepared to recognize as reasonable,

 we have held that official intrusion into that private sphere generally qualifies as a search and

 requires a warrant supported by probable cause.” Id. at 304 (internal quotation marks and

 quotation omitted). “In the absence of a warrant, a search is reasonable only if it falls within a

 specific exception to the warrant requirement.” Riley v. California, 573 U.S. 373, 382 (2014)

 (citation omitted).

        “[T]he Fourth Amendment provides that ‘a warrant may not be issued unless probable

 cause is properly established and the scope of the authorized search is set out with particularity.’”

 United States v. Galpin, 720 F.3d 436, 445 (2d Cir. 2013) (quoting Kentucky v. King, 563 U.S.

 452, 459 (2011)). Magistrate judges will find probable cause to issue a warrant where “there is a

 fair probability that contraband or evidence of a crime will be found in a particular place.”

 Illinois v. Gates, 462 U.S. 213, 238 (1983). As part of the requirement that there be probable

 cause to issue a warrant, there is a requirement related to overbreadth: a “description of the

 objects to be seized is defective if it is broader than can be justified by the probable cause upon


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 which the warrant is based.” United States v. Purcell, 967 F.3d 159, 179 (2d Cir. 2020)

 (quotation omitted).

        As for the particularity requirement, to comply with the Fourth Amendment, a warrant

 must “particularly describ[e] the place to be searched, and the persons or things to be seized.”

 U.S. Const. amend. IV. A warrant must therefore (1) “identify the specific offense for which the

 police have established probable cause”; (2) “describe the place to be searched”; and (3) “specify

 the items to be seized by their relation to the designated crimes.” Galpin, 720 F.3d at 445-46

 (internal quotation marks, quotation, and citations omitted). “A warrant is facially

 unconstitutional if it fails to comply with any of these requirements.” Purcell, 967 F.3d at 178.

 The Second Circuit has “found the particularity requirement to be violated where a warrant fails

 to place some limitation on the kind of evidence sought and instead leaves it entirely to the

 discretion of the officials conducting the search to decide what items are to be seized.” Id.

 (quotation omitted) (cleaned up).

        Courts reviewing the issuance of a warrant “accord ‘great deference’ to a judge’s

 determination that probable cause exists, and [] resolve any doubt about the existence of

 probable cause in favor of upholding the warrant.” United States v. Salameh, 152 F.3d 88, 113

 (2d Cir. 1998) (internal quotations omitted) (citation omitted). A reviewing court’s duty “is

 simply to ensure that the magistrate had a substantial basis for concluding that probable cause

 existed.” Gates, 462 U.S. at 238-39 (quotation omitted) (cleaned up).

        If a search or seizure lacks a valid warrant and does not fall into an exception to the

 warrant requirement, courts apply the exclusionary rule, “a prudential remedy crafted by the

 Supreme Court,” United States v. Raymonda, 780 F.3d 105, 117 (2d Cir. 2015) (internal

 quotation marks omitted), which “bars the prosecution from introducing evidence obtained by




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 way of a Fourth Amendment violation.” Davis v. United States, 564 U.S. 229, 232 (2011). The

 Supreme Court has articulated that the “[exclusionary] rule’s sole purpose . . . is to deter future

 Fourth Amendment violations.” Id. at 236-37 (citations omitted). Thus, “when the police act

 with an objectively reasonable good-faith belief that their conduct is lawful . . . or when their

 conduct involves only simple, isolated negligence, . . . the deterrence rationale loses much of its

 force, and exclusion cannot pay its way.” Id. at 238 (internal quotation marks and quotations

 omitted omitted). Law enforcement officers do not act “in objectively reasonable reliance on a

 warrant subsequently invalidated by a reviewing court,” such that the good faith exception to the

 exclusionary rule would apply, “in at least four circumstances: (1) where the issuing magistrate

 has been knowingly misled; (2) where the issuing magistrate wholly abandoned his or her

 judicial role; (3) where the application is so lacking in indicia of probable cause as to render

 reliance upon it unreasonable; and (4) where the warrant is so facially deficient that reliance

 upon it is unreasonable.” Raymonda, 780 F.3d at 118 (internal quotation marks and quotations

 omitted).

        In addition to this good faith exception, there is an exception to the exclusionary rule

 when discovery would have inevitably been discovered. “Under the ‘inevitable discovery’

 doctrine, evidence obtained during the course of an unreasonable search and seizure should not

 be excluded ‘if the government can prove that the evidence would have been obtained inevitably’

 without the constitutional violation.” United States v. Heath, 455 F.3d 52, 55 (2d Cir. 2006)

 (quoting Nix v. Williams, 467 U.S. 431, 447 (1984)) (citation omitted). “[T]he inevitable

 discovery doctrine does not ask whether the government lawfully could have obtained the

 evidence at issue by means of corrected [warrants] or that it would have done so after the defense

 alerted it to defects in its initial [warrants]. Rather, inevitable discovery asks whether the




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 government has shown that it certainly would have discovered the evidence by a lawful means

 even if no warrant had been issued or challenged.” United States v. Lauria, 70 F.4th 106, 124

 (2d Cir. 2023) (emphasis in original). The Second Circuit has held that when, “but for the

 defense’s exposure of misstatements in the warrant affidavits [or issues with the warrant], the

 government would have had no reason – and therefore would have been unlikely – to pursue

 alternative lawful means to procure the evidence at issues,” the inevitable discovery doctrine will

 not apply. Id.

         A defendant is not automatically entitled to an evidentiary hearing on a motion to

 suppress evidence. United States v. Barrios, 210 F.3d 355 (2d Cir. 2000). A defendant must

 show that there are contested issues of fact that necessitate a hearing. To make such a showing, a

 defendant’s moving papers must be “sufficiently definite, specific, detailed, and nonconjectural

 to enable the court to conclude that contested issues of fact going to the validity of the search are

 in question.” United States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992). If a defendant’s motion

 to suppress evidence is based on an allegation that a search warrant contained a false statement

 or omission, courts will hold an evidentiary hearing pursuant to Franks v. Delaware, 438 U.S.

 154 (1978), if the defendant can show that “(1) the claimed inaccuracies or omissions are the

 result of the affiant’s deliberate falsehood or reckless disregard for the truth; and (2) the alleged

 falsehoods or omissions were necessary to the issuing judge’s probable cause finding.” Lauria,

 70 F.4th at 125 (internal quotation marks and quotation omitted).

                                            DISCUSSION

    I.      Sun’s Motion to Suppress Evidence Seized Pursuant to the 2022 Gmail Warrant

         In 2022, the Government obtained the 2022 Gmail Warrant to search seven years’ worth

 of data from Sun’s personal Gmail account. The Government received electronic data pursuant

 to the 2022 Gmail Warrant, FBI agents reviewed the return “as guided by three charts of header


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 information regarding Sun’s email account,” and the agents generated a responsiveness report in

 or around July 2022.

         At some point between July 2022 and May 2024, the Government realized that “the

 search warrant returns, including the reviewing agents’ responsiveness report,” had been

 “inadvertently expunged from FBI computers.” Rather than seek a new warrant, from May 2024

 into July 2024, FBI agents re-searched and reviewed the full return of data received pursuant to

 the 2022 Gmail Warrant, and created a new responsiveness report (the “2024 search”). The

 Government asserts that it accessed the full return of data received pursuant to the 2022 Gmail

 Warrant again in 2024 in an attempt to re-create the responsiveness report the FBI had first

 generated in 2022. During this search of the data, the Government seized at least 86 emails that

 it knows were not included in the 2022 responsiveness report. The Government has represented

 that it will not rely on these 86 emails in this case.

         In July 2024, pursuant to a separate warrant (the Home Warrant), the Government seized

 a computer from Sun’s residence that contains “most of” the emails the Government obtained in

 its 2024 search of the data received from the 2022 Gmail Warrant. Hr’g Tr. at 12:10-13, United

 States v. Sun, No. 24-cr-346 (E.D.N.Y. April 23, 2025) (hereinafter “April 23, 2025 Hearing

 Transcript”). The Government relied on at least one email obtained in its 2024 search in

 obtaining the Home Warrant. Also in 2024, the Government obtained a warrant to search Sun’s

 Gmail account (the “2024 Gmail Warrant”), covering a different time period and asserting

 different predicate offenses than the 2022 Gmail Warrant. The affidavit in support of the 2022

 Gmail Warrant was incorporated by reference and attached as an exhibit to the 2024 Gmail

 Warrant.




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        A.      The Reasonableness of the Government’s 2024 Search

        The execution of the 2022 Gmail Warrant was complete when the FBI agents generated a

 responsiveness report in or around July 2022. See United States v. Nejad, 436 F. Supp. 3d 707,

 736 (S.D.N.Y. 2020) (“At the conclusion of its responsiveness review in April 2017, the D.A.

 had identified all of the documents from the entire data set properly seized under the warrants,

 and the execution of those warrants was thus complete.”). Any search after that, including the

 2024 search of the data obtained pursuant to the 2022 Gmail Warrant, would include data the

 Government had already found nonresponsive and would have required a new warrant. Id.

 (“searches conducted subsequent to the completion of the responsiveness review violated the

 Fourth Amendment”); cf. United States v. Collins, 409 F. Supp. 3d 228, 244 (S.D.N.Y. 2019)

 (“The Government – having conducted a search of . . . iCloud data consistent with the Fourth

 Amendment and a search warrant – does not have the legal authority to go back and search

 materials that are non-responsive, i.e., outside the scope of the search warrant.”). Thus, the 2022

 Gmail Warrant did not cover the 2024 search.

        However, the Government did not obtain a new warrant. Instead, it argues that the 2024

 search was reasonable because it was temporally reasonable with respect to the 2022 Gmail

 Warrant and because the 2024 search was not a new search; rather, it was an attempt to seize the

 same emails the Government had previously seized in 2022 (and then inadvertently deleted).

        The Government’s temporal reasonableness argument is irrelevant: the unreasonableness

 of the Government’s 2024 search stems not from the time that had passed between the 2022

 Gmail Warrant and the 2024 search, but from the fact that the Government conducted an

 additional search not authorized by the 2022 Gmail Warrant.

        The Government’s argument that the 2024 search was not a new search also fails. The

 Government itself admits that it collected at least 86 emails in the 2024 search that were not


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 collected during the 2022 search. And although the Government represents that it will not rely

 on these 86 emails, the Government cannot assure this Court that all of the other emails returned

 in the 2024 search were previously seized in the 2022 search. This is because the 2022 search no

 longer exists. Accordingly, the Court has no way of knowing which emails were “first identified

 as responsive during [the 2024 search],” such that they would be “outside the scope of the [2022

 Gmail Warrant]” and appropriately suppressed. Nejad, 436 F. Supp. 3d at 736.

        Because the Government was not authorized to conduct the 2024 search by the 2022

 Gmail Warrant, the execution of which was completed in 2022, and the Government did not

 obtain any other warrant to conduct its 2024 search, the 2024 search was unreasonable under the

 Fourth Amendment.

        B.      The Good Faith Exception

        The good faith exception does not apply to the Government’s 2024 search. Although the

 good faith exception may apply even to a warrantless search “where officers committed a

 constitutional violation . . . under circumstances that they did not reasonably know, at the time,

 were unconstitutional,” that determination is made by “assessing the reasonableness of an

 officer’s mistaken belief that no warrant was required in a particular circumstance,” including by

 considering whether “the Supreme Court [or the Second Circuit] had considered whether a

 warrant is required for” such circumstances. United States v. Maher, 120 F.4th 297, 321 (2d Cir.

 2024) (quotation and citations omitted) (cleaned up).

        The Government contends that, “[a]t bottom, the agents sought to comply with the 2022

 [Gmail] Warrant.” The circumstances under which FBI agents “sought to comply” with the

 2022 Gmail Warrant are that they had already fully executed the 2022 Gmail Warrant in 2022,

 and yet proceeded to conduct a new search of information obtained two years earlier pursuant to

 that warrant without seeking or obtaining a new warrant. Considering similar circumstances, the


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 Second Circuit held in United States v. Ganias, 824 F.3d 199 (2d Cir. 2016) (en banc), that it was

 reasonable for the Government to apply for a new warrant to conduct a new search of mirrored

 copies of the defendant’s hard drives of which the Government had already completed a search

 pursuant to a warrant, and which the Government retained after that search. In that case, the

 Second Circuit declined to resolve “whether the Government’s retention of forensic copies . . .

 during the pendency of its investigation violated the Fourth Amendment,” instead deciding the

 case on the ground that the FBI agent conducting the search acted reasonably in applying for and

 obtaining a new search warrant. Id. at 220-21. Having retained a forensic copy of Sun’s Gmail

 account, the FBI agents should have obtained a new search warrant here as well. Given Second

 Circuit precedent, it was not reasonable for the FBI agents to believe that no warrant was

 required to conduct a new search of the information they obtained from the 2022 Gmail Warrant,

 or that they could rely on the already fully executed 2022 Gmail Warrant to conduct a new

 search. See United States v. Wey, 256 F. Supp. 3d 355, 406-07 (S.D.N.Y. 2017) (discussing

 Ganias and finding no good faith exception for FBI agent’s search of electronic materials they

 had deemed unresponsive to warrant two years earlier); see also Nejad, 436 F. Supp. 3d at 736

 (district court case holding, before the FBI agents’ 2024 search, that “documents seized

 following the conclusion of the responsiveness review were seized outside the scope of the

 search warrants”); Collins, 409 F. Supp. 3d at 244 (another district court case holding, before the

 FBI agents’ 2024 search, that “[t]he Government – having conducted a search of . . . iCloud data

 consistent with the Fourth Amendment and a search warrant – does not have the legal authority

 to go back and search materials that are non-responsive, i.e., outside the scope of the search

 warrant”). In other words, “[f]or the Government to skirt that new-warrant obstacle [discussed in

 Ganias] by – appearances would suggest – intentionally taking advantage of its sweeping




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  electronic take to look for evidence” not authorized by a warrant “is inconsistent . . . with a claim

  of good faith in executing the [2022 Gmail Warrant].” Wey, 256 F. Supp. 3d at 407.

         The Government’s discussion of the temporal reasonableness of the 2024 search as a

  basis for the good faith exception is again misplaced, for the same reason as discussed above: the

  2024 search was not unreasonable because of its timing, it was unreasonable because the warrant

  it purported to execute had already been executed and the Government failed to obtain a new

  warrant to authorize the search. And although the Government asserts that the 2024 search was

  not “deliberate, reckless, or grossly negligent conduct, or [reflecting] recurring or systemic

  negligence,” Herring v. United States, 555 U.S. 135, 144 (2009), in addition to the fact that the

  search ignored Second Circuit precent, the Government concedes in the very next paragraph of

  its opposition to Sun’s motion to suppress “the agents’ relative inexperience with electronic

  review.” Seemingly pointing to systemic negligence, that not one FBI agent stopped to get a

  warrant before conducting a new search (not to mention the “inadvertent” deletion of the original

  2022 review, for which the Government has provided no explanation and which seemingly went

  unnoticed for almost two years) is the exact type of conduct the exclusionary rule is in place to

  deter, not evidence of “good faith” such that the exclusionary rule would not apply. See Davis,

  564 U.S. at 238.

         C.      The Inevitable Discovery Doctrine

         Even though the 2024 search violated the Fourth Amendment and the good faith

  exception does not apply, the results of the 2024 search (and the direct and indirect products

  thereof) need not be suppressed to the extent the inevitable discovery doctrine applies. As

  discussed above, the doctrine of inevitable discovery provides an exception to the exclusionary

  rule “where the record establishes ‘with a sufficiently high degree of certainty that a reasonable

  officer would have’ lawfully discovered the evidence regardless of the disclosure of any legal


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  defect in the actual discovery of the evidence.” Lauria, 70 F.4th at 123 (quoting Heath, 455 F.3d

  at 58) (emphasis in Heath). Here, the Home Warrant provides that certainty. See Heath, 455

  F.3d at 60 (high degree of certainty may be established if the reviewing court “has a high level of

  confidence that [a lawful] warrant in fact would have issued and that the specific evidence in

  question would have been obtained by lawful means.”).

         Pursuant to the Home Warrant, issued in 2024, the Government seized Sun’s computer,

  containing “most of” the emails the Government obtained in its 2024 search of the data received

  from the 2022 Gmail Warrant. April 23, 2025 Hearing Transcript at 12:10-13. Although the

  Government relied on one email obtained from its 2024 search in its affidavit in support of the

  Home Warrant, there was probable cause to issue the Home Warrant without the information

  related to that email. Thus, the Government would have inevitably found “most of” the emails

  the Government obtained in its 2024 search through its Home Warrant.

         The affidavit accompanying the Home Warrant (the “Home Affidavit”) recounted how

  Sun “acted to benefit the PRC [People’s Republic of China] government and traded access for

  various PRC government representatives and agents, in return for economic considerations.” It

  included information from numerous WeChat communications between Sun and her parents in

  which they discuss the actions underlying the predicate crimes included in the Home Affidavit

  and the Home Warrant, such as someone referred to as “Chairman Xia” upgrading Sun’s airfare

  and Sun’s assumption that Xia “would start asking her to do him favors such as arranging

  peoples’ visits (to the Governor’s office);” Sun, Hu, and Sun’s parents receiving gifts from PRC

  officials and agents; and Sun and Hu using Sun’s parents as straw purchasers for vehicles.

  Special Agent Perry assessed that these WeChat communications would be found in Sun’s

  electronic devices. Given that the Home Warrant identified evidence of the predicate crimes in




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  electronic messages sent by Sun, which necessarily would have existed on electronic devices,

  there was probable cause to search Sun’s electronic devices, including her computer.

         The paragraph in the Home Affidavit referencing an email obtained through the

  Government’s 2024 search describes an act Sun committed on behalf of an alleged agent of the

  PRC. The Home Affidavit included numerous other acts Sun allegedly performed to benefit the

  PRC government, including issuing unauthorized invitation letters for delegations from China to

  visit New York and granting an official state title to CC-1, an alleged co-conspirator, without

  authorization. Removing the paragraph based on the email from the 2024 search thus does not

  deprive the Home Warrant of probable cause. Therefore, the Government inevitably would have

  been granted the Home Warrant regardless of its access to Sun’s Gmail account, and would have

  discovered the emails on Sun’s computer.

         There is one caveat to this application of the inevitable discovery doctrine. The

  Government has stated that “most of” the emails the Government obtained in its 2024 search

  were on the computer seized from Sun’s residence. April 23, 2025 Hearing Transcript at 12:10-

  13. Any emails that the Government obtained in its 2024 search that were not present on the

  computer seized pursuant to the Home Warrant are not subject to the inevitable discovery

  doctrine, because the Government has not identified any way, other than the unlawful 2024

  search, by which these emails would have been obtained.

         Sun argues that any suppression applied to the 2024 search should also apply to the

  information obtained from the 2024 Gmail Warrant, because it was tainted by the Government’s

  unlawful 2024 search. The affidavit in support of the 2022 Gmail Warrant was incorporated by

  reference and attached as an exhibit to the 2024 Gmail Warrant, but no party to this litigation has

  provided the Court will the full text of the affidavit filed in support of the 2024 Gmail Warrant,




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  so the Court has no way of determining whether probable cause would have existed absent the

  unlawful 2024 search. Although reserving decision on this point, the Court notes its doubt that

  the 2024 search could have tainted the 2024 Gmail Warrant, considering that the 2024 Gmail

  Warrant was executed on May 31, 2024, and the Government conducted its “efforts to recreate

  the responsiveness report . . . between May 31, 2024 and July 3, 2024.” Because the

  Government’s 2024 search may have begun before its “efforts to recreate the responsiveness

  report,” the Court withholds judgment on this point.

         If the Government finds that any information it obtained from the 2024 Gmail Warrant is

  not on the computer seized from Sun’s residence, the Government shall file a letter indicating as

  such, and will also file the full affidavit it submitted in support of the 2024 Gmail Warrant. In

  the event that there is information obtained from the 2024 Gmail Warrant that is missing from

  Sun’s computer seized pursuant to the Home Warrant, the inevitable discovery doctrine will not

  apply, and this Court will make a determination as to whether the 2024 Gmail Warrant was

  tainted by the Government’s 2024 search such that suppression may be warranted.

         In sum, suppression is proper for emails obtained pursuant to the Government’s unlawful

  2024 search that do not also exist on the computer the Government seized pursuant to the Home

  Warrant. If there are emails obtained pursuant to the 2024 Gmail Warrant that do not also exist

  on the computer seized pursuant to the Home Warrant, the Court will issue a subsequent decision

  on whether those emails must be suppressed.

         The Court withholds decision on whether plaintiff is entitled to an evidentiary hearing

  regarding the 2024 search’s potential taint of the 2024 Gmail Warrant, based on whether any

  data from the 2024 Gmail Warrant is not on Sun’s computer seized pursuant to the Home

  Warrant and whether, after reviewing the full affidavit accompanying the 2024 Gmail Warrant,




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  the Court can conclude with a “high level of confidence” that the 2024 Gmail Warrant would

  have issued without the 2024 search. Heath, 455 F.3d at 60. Otherwise, there are no material

  facts in dispute warranting a hearing. See United States v. Zimmerman, 480 F. Supp. 3d 446,

  451 (E.D.N.Y. 2020) (“[A] defendant is entitled to an evidentiary hearing where there is ‘a

  contested issue of material fact.’” (quoting United States v. Harun, 232 F. Supp. 3d 282, 285

  (E.D.N.Y. 2017)).

     II.        Hu’s Motion to Suppress Evidence Seized Pursuant to the Leivine and Home
                Warrants

           A.      The Leivine Warrant

           Hu owns a wine and liquor store called Leivine Wine & Spirits. Leivine had a soft

  launch in early August 2022, and held its grand opening on or about November 5, 2022.

           In 2024, the Government obtained the Leivine Warrant to search Leivine in connection

  with the crimes of money laundering, false statements, attempt to evade or defeat tax, and

  conspiracies to commit the same. The affidavit accompanying the Warrant (the “Leivine

  Affidavit”) asserted that Sun worked as an undisclosed an agent for the Government of the

  People’s Republic of China (“PRC”) and its ruling political party, the Chinese Communist Party

  (“CCP”). It then asserted that cash received in exchange for Sun’s actions as an agent was being

  laundered through Leivine, based on the following facts:

     1. $10,000 was discovered pursuant to a separate warrant at Hu’s home (the Home

           Warrant), which Hu stated was revenue from Leivine that he needed to deposit at the

           bank;

     2. Hu stated that Leivine generated millions of dollars in cash revenue a year, and that he

           would deposit funds into the bank multiple times a day;




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      3. Between August 2022 and February 2024, Leivine averaged around $77,000 of cash

           deposits each month;

      4. Approximately $200,000 in cash was deposited to accounts held by Leivine before

           Leivine held its grand opening on or about November 5, 2022;

      5.   Between September 2022 and February 2024, approximately $1.123 million was

           transferred from personal bank accounts held in Hu’s name to one of Leivine’s bank

           accounts;

      6. Between October 2022 and February 2024, at least seven different bank accounts in

           Leivine’s name (the “feeder accounts”) received deposits and then disbursed those

           deposits into the same bank account, also in Leivine’s name (the “BOA 6999 Account”),

           and four of these feeder accounts disbursed more than 97% of the deposits they received

           to the BOA 6999 Account during this time period;

      7. The affiant, FBI Special Agent Devin Perry, assessed that “wine and liquor stores, such

           as Leivine, generally conduct primarily cashless transactions. Given Leivine’s location

           in a high-end development in Flushing, I assess it is unlikely that the large volume of

           cash HU has been depositing in Leivine accounts constitutes Leivine’s actual income.”

           Hu asserts that the evidence obtained pursuant to the Leivine Warrant must be suppressed

  because the Leivine Warrant lacked probable cause, was overbroad, and was not sufficiently

  particular.

           Hu argues that the Leivine Warrant lacked probable cause because the Leivine Affidavit

  included facts which the Government knew – based on bank records, sales records, and other

  business records the Government possessed before requesting the Leivine Warrant – were not

  indicia of probable cause, and in reality were facts pertaining to Leivine’s normal, routine




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  business transactions. Hu argues that the information the Government already had possession of,

  and omitted from the Leivine Affidavit, would have defeated the existence of probable cause to

  search Leivine.

         First, Hu asserts that the Government had bank records, sales records, and other

  documentation showing that the $77,000 monthly average in cash deposits were the proceeds of

  normal, routine cash transactions for liquor purchases at Leivine. Second, Hu states that the

  government had business records establishing that the $200,000 in cash deposited into accounts

  held by Leivine before Leivine’s grand opening was from Leivine’s soft launch.

         Setting aside the statements in the Leivine Affidavit concerning cash deposited into

  Leivine bank accounts before its grand opening and Leivine’s $77,000 monthly average in cash

  deposits, I find that the Leivine Affidavit still established probable cause. There was probable

  cause to issue a warrant to search Leivine based on the following facts: (1) $1.123 million was

  transferred from Hu’s personal bank accounts to Leivine’s bank account over a 1.5 year period,

  and (2) seven different feeder accounts all disbursed deposits into the BOA 6999 Account, and

  four of the feeder accounts disbursed more than 97% of their deposits to the BOA 6999 Account

  over the time periods discussed in the Leivine Affidavit. Hu does not assert that the Government

  had any information, or omitted any facts, pertaining to these statements.

         Money laundering may be committed by conducting a financial transaction “to conceal or

  disguise the nature” of proceeds, “knowing that the property involved . . . represents the proceeds

  of some form of unlawful activity.” 18 U.S.C. § 1956(a)(1)(B)(i). Coupled with the facts

  included in the Leivine Affidavit that describe Sun’s actions as an agent for the PRC and the

  benefits she received for these actions (which Hu does not challenge as knowingly false or

  misleading), the facts of the $1.123 million being transferred from Hu’s personal bank accounts




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  to Leivine’s bank account and the feeder accounts disbursing deposits into the BOA 6999

  Account provide probable cause to believe that Hu committed laundering through Leivine by

  using it to disguise proceeds from Sun’s unlawful activity. Given the numerous different bank

  accounts involved, including some that appear to have the sole purpose of passing money

  through to another account, the facts that remain in the Leivine Affidavit even after Hu’s

  challenge still provide probable cause for the Leivine Warrant. See United States v. Hickey, 16

  F. Supp. 2d 223, 227 (E.D.N.Y.), recons. granted on other grounds, 48 F. Supp. 2d 214, 238

  (E.D.N.Y. 1998) (finding probable cause to search business records at different businesses based

  on assertions that the defendants used bank accounts “to hide the involvement of” one of the

  defendants and “[t]he monies were then transferred, through a series of financial transactions, to

  accounts and deposited for the benefit of” the defendant and others.). Because the omissions Hu

  identifies were not necessary to the issuing judge’s probable cause finding, Hu is not entitled to a

  Franks hearing or suppression. See Lauria, 70 F.4th at 125 (omissions must be “necessary to the

  issuing judge’s probable cause finding” for a defendant to receive a Franks hearing).

         Turning to Hu’s argument that the Leivine Warrant was overbroad and lacked

  particularity, for the reasons discussed above, I find that there was probable cause to search

  Leivine based on the facts indicating that it was involved in a money laundering scheme.

  However, there is merit in Hu’s argument that the warrant lacked particularity with respect to the

  list of items to be seized in paragraph 2 of Attachment B to the Leivine Warrant. Attachment B

  to the Leivine Warrant provides a list of “Particular Things to be Seized.” Although paragraph 1

  in Attachment B limits the items to be seized to those that relate to the crimes for which the

  Leivine Affidavit establishes probable cause and a specific time frame, paragraph 2 provides no

  such limitations, instead listing as property to be seized “Records on the Devices,” and including




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  examples of such records but no crimes or time period to which the records must relate. Without

  these limitations, a warrant to seize any and all records on devices amounts to an impermissible

  general warrant.

         Despite this lack of particularity, the good faith exception applies to the Leivine Warrant.

  The formatting of Attachment B is such that paragraph 2 appears to be a subparagraph of

  paragraph 1. If paragraph 2’s numbering matched its appearance as a subparagraph, it would

  unquestioningly be sufficiently particular, because the limitations of paragraph 1 would apply to

  paragraph 2 as well. See United States v. Mendlowitz, No. 17-cr-248, 2019 WL 1017533, at *9

  (S.D.N.Y. March 2, 2019) (warrant sufficiently particular where “every sub-paragraph of the list

  of evidence to be seized [was] modified by introductory language limiting the search to evidence

  of the scheme”) (citation omitted). Furthermore, “the language of a warrant is to be construed in

  light of an illustrative list of seizable items,” United States v. Riley, 906 F.2d 841, 844 (2d Cir.

  1990). The illustrative list of seizable items under paragraph 2, including financial records

  related to the receipt or deposit of cash in the name of Leivine and communications related to the

  receipt or deposit of cash, easily falls within the limitations set by paragraph 1.

         Considering that the Leivine Warrant prominently displayed at the top of Attachment B,

  in paragraph 1, limitations on the items to be seized by listing the crimes and time frame they

  must relate to; that paragraph 2 appears by its formatting to be a subparagraph of paragraph 1;

  and that paragraph 2’s illustrative list contains items clearly related to the crimes for which the

  Leivine Affidavit established probable cause, the warrant was not so facially deficient that

  reliance upon it was unreasonable. See United States v. Cwibeker, No. 12-cr-632, 2014 WL

  7423106, at *8 (E.D.N.Y. Dec. 31, 2014) (good faith exception applied to warrant that




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  mentioned crime for which there was probable cause in paragraph 11 of items to be seized and

  there were “interior limitations in many parts of the search warrant”).

         Hu’s motion to suppress as to the Leivine Warrant is therefore denied.

         B.      The Home Warrant

         As discussed above, the Government obtained the Home Warrant to search Sun and Hu’s

  home in 2024. The Home Affidavit stated that a search of Hu’s email account, conducted

  pursuant to a different warrant, revealed “evidence of money laundering and bank fraud,

  including . . . a ledger in which Hu tracks cash deposits into his family and his business’

  accounts.” Hu argues that the Home Warrant was overbroad in authorizing the seizure of all of

  his electronic devices and digital media. However, the statement in the Home Affidavit that

  Hu’s email account revealed “evidence of money laundering and bank fraud” was sufficient to

  establish probable cause as to Hu’s electronic devices and digital media. Having identified

  evidence of a crime in Hu’s email account, which would also likely be on his electronic devices,

  and which would itself be digital media, the affidavit established “a fair probability that [more]

  contraband or evidence of a crime would be found” in Hu’s electronic devices and digital media.

  Gates, 462 U.S. at 238.

         In an almost exact replica of the Leivine Warrant, the Home Warrant included an

  Attachment B which listed “Particular Things to be Seized,” paragraph 2 of which did not

  specify the crimes or time frame to which the items needed to relate. Hu raises the same

  particularity argument for the Home Warrant as he does for the Leivine Warrant. For the same

  reasons discussed with respect to the Leivine Warrant, the good faith exception applies such that

  the lack of particularity in paragraph 2 does not warrant suppression.

         Accordingly, Hu’s motion to suppress is denied as to the Home Warrant as well.




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                                          CONCLUSION

         For the foregoing reasons, Sun’s motion to suppress [77] is granted in part and denied in

  part; Hu’s motion to suppress [80] is denied.

  SO ORDERED.

                                                  ___________________________________
                                                                U.S.D.J.

  Dated: Brooklyn, New York
         April 27, 2025




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